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           NOTE: This order is nonprecedential.


   United States Court of Appeals
       for the Federal Circuit
                  ______________________

                      APPLE INC.,
                       Appellant

                             v.

      INTERNATIONAL TRADE COMMISSION,
                    Appellee
             ______________________

                        2024-1285
                  ______________________

    Appeal from the United States International Trade
 Commission in Investigation No. 337-TA-1276.
                 ______________________

                      ON MOTION
                  ______________________

 PER CURIAM.
                        ORDER
     Apple Inc. submits a motion to stay, pending appeal,
 the International Trade Commission’s limited exclusion or-
 der and cease-and-desist order (“the Remedial Orders”)
 and moves for an interim stay of the Remedial Orders
 pending a ruling on the motion to stay. The Commission
 opposes and “respectfully requests a five-day extension
 from January 5, 2024, to January 10, 2024, to file its
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 2                                           APPLE INC. v. ITC




 response” to the motion for a stay pending appeal. ECF No.
 10 at 1.
     Upon consideration thereof,
     IT IS ORDERED THAT:
     (1) The motion for an interim stay is granted to the ex-
 tent that the Remedial Orders are temporarily stayed and
 the government is directed not to enforce the Remedial Or-
 ders until further notice while the court considers the mo-
 tion for a stay pending appeal.
     (2) While the interim stay is in effect, Apple must com-
 ply with the same bond requirements set forth by the Com-
 mission in the Remedial Orders governing the Presidential
 Review Period.
     (3) The Commission’s request for a five-day extension,
 from January 5, 2024, to January 10, 2024, is granted. Op-
 position to the motion to stay pending appeal is due no later
 than January 10, 2024, and any reply in support is due no
 later than January 15, 2024.
                                               FOR THE COURT




 December 27, 2023
      Date
